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Case 1:21-cr-00660-RBW Documeptga, Flees pfs dca :

Daniel Michael Morrissey, MBA > AT { 202. SY

2/1/2024

Honorable Reggie B. Walton
U.S. Federal Court

333 Constitution Ave, N.W.
Washington D.C, 20001

Reference: Case No.: 1:21-cr-00660-RBW

Your Honor:

I am contacting you again because, as I have maintained through my legal proceeding the DOJ,
Christopher Tortorice, and Anthony Solis, worked together to deny me my Constitutional right to
Due Process, and I have been able to prove this for years now.

T’ll keep this short.

On the status hearing you granted me on July 14", 2022, you ask Tortorice directly, “...does the
Government know of any such tape recording?”

Tortorice’s reply, “No, Your Honor.” Page three of court transcript, highlighted in orange.
This is a lie.

In an email dated, October 15", 2022, Anthony Solis writes Tortorice:

“Chris:

You'll recall that PRIOR TO the July 14", 2022 status conference in Mr. Morrissey’s case, we
discussed that Mr. Morrissey found, in the public domain, additional videos depicting him
entering the Capitol.”

I filed a complaint against Tortorice with the Office of Disciplinary Counsel, and in their reply,
Becky Neal confirms: the existence of the “video” the government claims doesn’t exist, and the
fact that the video “...which shows that you entered the Capitol through an unlocked door, and

supports your (my) defense you (I) did so out of necessity.”

Your Honor, as you know, I cannot be denied life, liberty or property without Due Process, and I
can prove beyond a reasonable doubt that Christopher Tortorice, intentionally and maliciously
withheld exculpatory evidence, Brady Material, that exonerates me. Anthony Solis, conspired
with Christopher Tortorice to withhold multiple pieces of video evidence that exonerates me.

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Because of this, I am on the verge of being homeless, I have been completely bankrupted, cannot
find employment, although I am more than capable, and well educated. What Christopher
Tortorice, the DOJ, and Anthony Solis have done to me is wrong. I can prove everything I’m
espousing.

I am asking that you accept the evidence I have submitted, and dismiss the charges against me,
and also impose damages against Solis and Tortorice. I have lost everything. Absolutely

everything.

I have included my breach of contract letter I sent to Solis last year. Solis is not entitled to ill-
gotten gains.

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